,
,
             Case 2:20-cv-00255-WHA-CSC Document 2-8 Filed 04/14/20 Page 1 of 1

                                                    Pk:,A -ti-EE
                                                          EA;h1-7/ "h1
                              7, oth,/;-z 44, &,,,,e,-,ti

                  _ 1;,A.e.gx fa_ A,a4/              a e,led 44,9
                                                     ,                    anc4:5- Arte-
____/..e / /Lheee•(2niS aeled eZ/-/>1_,                   cse      /ee "ez-ze% Ae,,r 7;zi
                                                                                        ,f
    ,     ,d .- &k-4/-1,42,5_71Leithaeg
          ‘                                                     ccec‘15-_eiratle_ .1,______
          A           4ezcsAi nit- Oaec          z_ep,/_-e exmf-i .01        .:1e
_Ige
   ,    A pe&..._42101 1/1 as CiM..._aztoLitaie7           'eireeci7._
 a-4 4../Ae e - '&7 4V.Te fil&-i4' a/veal' A/;27         el;    e:z4...._.a/C2
                                                                            ) 4atza_
  al,Zid        ,e--Aes AVet/e/- ii, C                /sig-t/e_ri/Ze4
                                                        s               oe-zre4Ac-s&icz--4
                                                                                         '
__cr_d.     _ .&,..arte..at_,,A_as 71keze,44        i>_,
                                                       ,f,,,,
                                                         7        az/      ezi/ce
                                                                  e        41t: -ci"0/
 pe-0,/
  ,Lrj
                _14.:5- ,/,:5- ez ///es a.,--29LAJILe-,c_.ker
                  ,021 :f
                        ef ijIld /S 4L.,..„±Aerze             0
                                                              .6<441       417.....a...?

    a.//    ,, J./.2c_aelatih-exC—Afecre."- AO,tA./ALI,&__._A do                4zez7      7
  _Mt.                           04,--dim..*,,i6,7,5- ke.e,s_46`4L,411.7, (2,21‘;25-
  144P1/1._!        7_,(4..   c /6   S'AAac‘11_6-e/C....4heeAyarze.41/
                                                                     1 9--ge64-o-----

  ,/ 145.   A      e_...A.4444.._6ac,-eci 04LI AZO ,z_.1___.Adt_
  7         If      ,7,,4 4,- c(//.04,
            I
            I                 e/-/K'cai,4-0,1
  --,,/     1 e4,
                4_1-
                   . kioiti_j_           hey       veti                 _r___Z.-e_         -,Y------
    bae 1, ..___:_frecgi 7e1-rd le                I a_11.eiv, ,elf             j:G.
                                                          /
            I
                                                       4P          4 //
     4-13116                                            --Ar      ..i




            i
